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10   Joseph F. Iniguez
11
                          UNITED STATES DISTRICT COURT,
12
                        CENTRAL DISTRICT OF CALIFORNIA
13

14

15
     JOSEPH F. INIGUEZ,                                  Case No.: ___________________
16
                  Plaintiff,
17
             v.                                          COMPLAINT FOR VIOLATION
18                                                       OF CIVIL RIGHTS
     OFFICER R. MARTINEZ, an                             [42 U.S.C. §§ 1983, 1988]
19
     individual and Officer of the Azusa
20
     Police Department; CITY OF                          DEMAND FOR JURY TRIAL
21   AZUSA, a public entity; and DOES
22   1 to 20,
23
                  Defendants.
24
     _____________________________/
25

26
     / / /
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     / / /
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                               COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 1
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 1
           Plaintiff Joseph F. Iniguez alleges that his civil rights were violated as
 2   follows:
 3             ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF
 4   Jurisdiction and Venue:
 5        1.      This action for money damages arises under the Civil Rights Acts of
 6   1871, 42 U.S.C. §§ 1983, 1985(3), 1988, the First, Fourth, Fifth and Fourteenth
 7   Amendments to the United States Constitution, and other applicable federal and
 8   state law.
 9        2.      This Court has jurisdiction over the Federal Claims in this action based
10   on 28 U.S.C. §§ 1331 and 1343.
11        3.      The unlawful conduct and illegal practices alleged in this complaint
12   were all committed in the Central District of California. Venue therefore lies in this
13   district, pursuant to 28 U.S.C. § 1391(b).
14        Parties:
15        4.      At all times set forth in this complaint and now, plaintiff Joseph F.
16   Iniguez (“Mr. Iniguez” or “Plaintiff”) has been an inhabitant of the United States,
17   and a resident within the jurisdiction of the Central District of California.
18        5.      Defendant City of Azusa (“the City”) is a municipality in the Central
19   District of California and a governmental entity. The Azusa Police Department
20   (“APD”) is a law enforcement agency of the City.
21        6.      Defendant Officer R. Martinez—Serial Number 1140 (“Officer
22   Martinez”) was a Police Officer of the APD at all times relevant to this complaint.
23        7.      Because Plaintiff is ignorant of the true names and capacities of Does 1
24   to 20, he is suing these Defendants by these fictitious names. Plaintiff will seek
25   leave to amend this Complaint to allege their true names and capacities when the
26   true names and capacities are learned. Plaintiff is informed and believes, and on
27   that basis alleges, that the Doe Defendants acted in concert with all of the named
28


                              COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 2
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 1
     defendants. The Doe Defendants are being sued in their individual and official
 2   capacities.
 3          8.   The City also employs all individuals employed by the APD, including
 4   Officer Martinez and Doe Defendants 1 to 20. At all times relevant to this
 5   Complaint, Officer Martinez and Doe Defendants were duly appointed, duly hired
 6   and acting as Police Officers of the City, acting under color of law and under color
 7   of statutes, ordinances, regulations, policies, customs and usages of the State of
 8   California and the City. Plaintiff was deprived of interests protected by the United
 9   States Constitution and laws of the United States, and each and every defendant
10   caused, by commission or omission, these deprivations while acting under color of
11   law.
12          9.   Officer Martinez and Doe Defendants, and each of them, acted as
13   alleged in this complaint, as individuals, and they also acted under color, authority,
14   and pretense of the laws, statutes, regulations, customs and usage of the State of
15   California, the City, and under the authority of their official capacities.
16          10. Plaintiff is informed and believes, and on that basis alleges, that each
17   and every act alleged in this complaint was done by Officer Martinez and the Doe
18   Defendants in the execution and implementation of the official policy, practice and
19   custom of the City and the APD. Plaintiff is informed and believes, and on that
20   basis alleges, that at all times set forth in this complaint each of the individual
21   defendants were the agent or the employee of the remaining defendants, and in
22   doing the acts alleged below, were acting within the scope of his or her agency or
23   employment.
24          11. The acts and omissions complained of in this action (except the City)
25   were engaged in maliciously, callously, oppressively, wantonly, recklessly, with
26   deliberate indifference to the rights violated, despicably, and with evil motive and
27   intent, in disregard of the rights of the Plaintiff.
28


                             COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 3
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            12. In violation of 42 U.S.C. § 1983, each individual Defendant conspired
 2   with the other in order to deprive Plaintiff of his rights as set forth in this action.
 3   Facts Common to All Claims for Relief:
 4          13. On December 11, 2021, at approximately 11:40PM, Plaintiff and his
 5   fiancé, Dale Radford (Radford) were in the drive-thru of the McDonald’s location
 6   on Alosta Avenue. Upon entering the drive-thru, Plaintiff noticed the interior of
 7   their car light up and soon after, Officer Martinez approached the driver’s side of
 8   the car. Officer Martinez asked Mr. Radford if he knew why he was pulled over
 9   and then quickly stated that he was able to smell the odor of alcohol from inside
10   the car. Plaintiff advised Martinez that he drank earlier in the evening at a
11   wedding reception, Mr. Radford was acting as a designated driver, and any odor of
12   alcohol was from Plaintiff.
13          14. Officer Martinez asked Mr. Radford to exit the car and began to ask
14   questions related to a driving under the influence investigation. Plaintiff was
15   aware that the Azusa police department does not use body-worn camera or
16   dashboard recording in the patrol car, so Plaintiff exited the car and began to
17   record the interaction with his cell phone to ensure the interaction would be
18   documented. Plaintiff stood near the rear door of the passenger side of the car.
19   Seconds after Plaintiff started recording, Officer Martinez stated, “My name is
20   Corporal Martinez sir, by all means” while looking in the direction of Plaintiff’s
21   camera.1
22          15. Officer Martinez then walked Mr. Radford toward the rear of his patrol
23   car, approximately 20-30 feet from where Plaintiff was standing, and APD Officer
24   Arias, who had arrived on the scene, came to stand within a few feet of Plaintiff.
25   As Officer Arias stayed near Plaintiff, Plaintiff was able to converse with Officer
26   Arias and explained to him that Mr. Radford did the right thing and drove Plaintiff
27
     1
28       Quotations in this Complaint are paraphrased.

                             COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 4
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 1
     after the wedding. Officer Arias was receptive to Plaintiff’s comments and
 2
     continued to stand near Plaintiff without incident.
 3
          16. Officer Arias told Plaintiff, “You’re recording, and you can have
 4
     whatever evidence you need and stuff from that, ok?” Plaintiff noticed that Officer
 5
     Martinez was engaging in a DUI investigation with Mr. Radford, so Plaintiff
 6
     advised Mr. Radford that he had various rights. Plaintiff told Mr. Radford that he
 7
     was under no obligation to answer any questions. Plaintiff explained to Mr.
 8
     Radford that the officer needed probable cause to arrest him and that if Officer
 9
     Martinez decided to arrest him, Mr. Radford could challenge the arrest in court.
10
          17. As soon as Plaintiff stated an aspect of Mr. Radford’s rights, Officer
11
     Martinez placed handcuffs on Mr. Radford and placed him in the backseat of his
12
     patrol car and stated, “Alright, I’m going to deal with your friend here.” Officer
13
     Martinez walked over to Plaintiff and told Plaintiff that he was in public and
14
     intoxicated and that Plaintiff would be placed under arrest. Officer Martinez
15
     further stated, “All you had to do was enter the car but you’re indicating to me that
16
     you’re incapable of following simple directions for your safety and the safety of
17
     the public. Therefore, you’re being placed under arrest for public intoxication.”
18
     Officer Martinez never asked Plaintiff to enter the car nor did Officer Arias, who
19
     was standing near Plaintiff nearly the entire time.
20
          18. It appeared from Officer Martinez’s demeanor that Officer Martinez was
21
     frustrated that Plaintiff advised Mr. Radford of his rights. He then arrested
22
     Plaintiff without cause for violation of California Penal Code section 647(f) and
23
     without probable cause of any other charge. [California Penal Code section 647(f)
24
     refers to someone “…Who is found in any public place under the influence of
25
     intoxicating liquor, any drug, controlled substance, toluene, or any combination of
26
     any intoxicating liquor, drug, controlled substance, or toluene, in a condition that
27
     they are unable to exercise care for their own safety or the safety of others, or by
28
     reason of being under the influence of intoxicating liquor, any drug, controlled

                            COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 5
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     substance, toluene, or any combination of any intoxicating liquor, drug, or toluene,
 2
     interferes with or obstructs or prevents the free use of any street, sidewalk, or other
 3
     public way.”]
 4
          19. Plaintiff was transported to the Azusa police station. During the intake
 5
     process, Plaintiff was asked by an APD jailer as to his sexual orientation; Plaintiff
 6
     declined to answer out of fear for his safety. Despite having no answer and no such
 7
     information, the jailer entered Plaintiff’s sexual orientation as bisexual. Plaintiff
 8
     was moved from an intake cell to a cell toward the rear of the jail that was dark,
 9
     extremely cold, and isolated. Plaintiff did not have shoes or a jacket while in
10
     custody; as a result, the cold was oppressive and injurious.
11
          20. Approximately 60-90 minutes after Plaintiff was placed in the cell,
12
     Officer Martinez returned to advise Plaintiff of what happened to Mr. Radford. It
13
     was clear from Officer Martinez’s physical demeanor that he was attempting to
14
     intimidate Plaintiff while he was in the cell. APD Sergeant Sears later visited
15
     Plaintiff’s cell where he was being held in custody and advised that Plaintiff would
16
     not be held for the required six hours and would be released early.
17
          21. Approximately four hours after Plaintiff’s arrest, the jailer walked
18
     Plaintiff to the front of the station. As they were walking, APD Sgt. Sears
19
     approached and asked the jailer to make sure Plaintiff was able to get a ride home.
20
     Officer Martinez then came by while Plaintiff was waiting for his ride in the lobby
21
     area and told the jailer that he would wait with Plaintiff.
22
          22. Officer Martinez told Plaintiff that he and Plaintiff are the same age and
23
     that he has been doing police work since he was 21 years old and that he is a
24
     Corporal. Plaintiff expressed to Officer Martinez that what happened to Plaintiff
25
     that night was inappropriate and that there are avenues of accountability for his
26
     actions. Officer Martinez advised Plaintiff that he has “been through IA before”
27
     and referenced a false arrest. Officer Martinez’s presence near Plaintiff made
28
     Plaintiff uncomfortable and as though he was attempting to intimidate Plaintiff.

                            COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 6
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     Officer Martinez’s actions in the field in arresting Plaintiff as well as his continued
 2
     interactions with Plaintiff throughout the night were improper and illegal.
 3
          23. Throughout the periods Plaintiff was kept in custody, he was
 4
     increasingly upset, anxious and distressed; he had done nothing illegal. Plaintiff
 5   had been illegally arrested. Plaintiff’s conditions of confinement were harsh.
 6        24. In the aftermath of the arrest, the APD released the fact of Plaintiff’s
 7   arrest to the public and media. As a result of the release of this information, based
 8   on a false and illegal arrest—and the fact that Plaintiff is Chief of Staff to the Los
 9   Angeles County District Attorney, the arrest of Plaintiff was reported widely and
10   repeatedly in the press and media. Foreseeably, the media intruded into Plaintiff’s
11   life, going to his home and calling his parents and sibling. Additionally, the
12   reporting included false information suggesting the matter had been referred to the
13   Los Angeles District Attorney and the California Attorney General for criminal
14   filing consideration. The extent and falsity of this reporting caused Plaintiff
15   extraordinary shame and embarrassment, emotional and psychological distress and
16   the physical manifestations of such distress and embarrassment.
17        25. Mr. Iniguez’s emotional and psychological distress and physical injuries
18   include sleeplessness, debilitating anxiety and yet to be diagnosed conditions, all of
19   which continue to this day.
20                             FIRST CLAIM FOR RELIEF
21     (Against all defendants for false arrest pursuant to 42 U.S.C. Section 1983)
22        26. Plaintiff re-alleges and incorporates by reference in this Claim for Relief,
23   each allegation set forth in paragraphs 1 through 25 above.
24        27. In acting as described in paragraphs 1 through 25 above, each of the
25   Defendants, acting under color of the statutes, regulations and ordinances of the
26   State of California, and the City, negligently, recklessly, intentionally and in bad
27   faith, deprived Plaintiff of the rights, privileges, and immunities secured and
28


                            COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 7
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     guaranteed to him by the United States Constitution and other laws of the United
 2   States as follows:
 3              a. The Defendants deprived Plaintiff of his right to be free of
 4                 unreasonable searches and seizures, as set forth and assured by the
 5                 Fourth and Fourteenth Amendments of the United States Constitution,
 6                 by seizing and arresting Plaintiff, and causing Plaintiff to be held in
 7                 custody.
 8              b. The Defendants conspired with each other in the deprivation of
 9                 Constitutional rights which are the subject of 42 U.S.C. § 1983.
10                 Specifically, this conspiracy included an illegal agreement to falsely
11                 arrest Plaintiff and an illegal agreement to make false statements and
12                 create false written reports in an apparent attempt to avoid
13                 prosecution, discipline, termination or civil liability.
14              c. The Defendants maliciously sought the prosecution of Plaintiff by
15                 presenting false report materials and/or verbal reporting;
16                 notwithstanding the Defendants’ false statements and
17                 misrepresentations, the charges against Plaintiff were dismissed in a
18                 manner which was a favorable termination, on the merits, of the
19                 prosecution against Plaintiff.
20              d. The Defendants deprived Plaintiff of his rights under the United States
21                 Constitution for other reasons as stated in paragraphs 1 through 24
22                 above.
23        28. Plaintiff’s rights as described above were clearly established at the time
24   of the violations and wrongful conduct alleged in this Complaint; and Defendants
25   knew, or should have known, of Plaintiff’s rights, and knew, or should have
26   known, that their wrongful and illegal conduct violated Plaintiff’s rights.
27        29.    As a direct, proximate and legal result of the above illegal and wrongful
28
     acts of defendants, and each of the defendants, Plaintiff suffered and continues to

                              COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 8
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     suffer injury, damage, and loss, including, but not limited to the following, in
 2   amounts which will be proven at trial:
 3              a. Loss of liberty.
 4              b. Severe emotional distress.
 5              c. Public degradation and obloquy.
 6              d. Injury to his reputation.
 7              e. Severe emotional and psychological distress.
 8              f. Physical injury manifesting and arising from this emotional and
 9                 psychological distress.
10        30. Except for claims of punitive and exemplary damages, the facts alleged
11   in this action makes the City liable for the conduct of the individual Defendants as
12   described in this Claim for Relief.
13        31. Plaintiff is entitled to attorney fees pursuant to 42 U.S.C. § 1988.
14        32. Individual Defendants are deficient in the amounts necessary to furnish a
15   suitable remedy to Plaintiff, APD is liable for such deficiency pursuant to
16   California Government Code section 815.2.
17        33. The above-described acts by the individual defendants were willful,
18   oppressive, intentional and malicious; punitive and exemplary damages are
19   therefore warranted to make an example of and punish the individual defendants,
20   in amounts that will be proven at trial.
21                             SECOND CLAIM FOR RELIEF
22                         (Against the Defendant City pursuant to
23                        42 U.S.C. Section 1983—Monell Liability)
24        34.    Plaintiff re-alleges and incorporates by reference in this Claim for
25   Relief, each allegation set forth in paragraphs 1 through 33 above.
26        35.    Plaintiff is informed and believes, and on that basis alleges, that at all
27   times prior to December 11, 2021, the City and APD permitted, encouraged,
28
     tolerated, and ratified a pattern and practice by its employees, including Officer

                             COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 9
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 1
      Martinez and Doe Defendants of making false arrests, engaging in unreasonable
 2    searches and seizures, utilizing unreasonable force against citizens, improperly
 3    intimidating and threatening citizens, and disrespecting citizens’ sexual orientation.
 4    The City and APD knew or should have known, or were deliberately indifferent to,
 5    and failed to appropriately monitor, supervise and discipline law enforcement
 6    employees for illegal conduct.
 7         36. Plaintiff is informed and believes, and on that basis alleges, that the
 8    above acts, omissions and systematic deficiencies are policies, practices and
 9    customs of the City and APD; as such, the City and APD caused their employees,
10    including Officer Martinez and Doe Defendants, to disregard the rules and laws
11    governing the standards for treatment of citizens suspected of crimes. The City and
12    APD led their employees to believe that their treatment of citizens would not be
13    honestly and properly investigated and appropriately disciplined, all with the
14    known and foreseeable result that law enforcement personnel are more likely to
15    illegally treat citizens suspected of crimes.
16         37.    Plaintiff is informed and believes, and on that basis alleges, that the
17    above acts, omissions and systematic deficiencies are policies, practices and
18    customs of the City and APD; as such, the City and APD caused their employees
19    to disregard the rules and laws governing standards for making proper arrests.
20    Instead, the City and APD led their employees to believe that false arrests would
21    not be honestly and properly investigated and appropriately disciplined, all with
22    the known and foreseeable result that law enforcement personnel are more likely to
23    act unreasonably to falsely arrest citizens.
24         38.    As a direct, proximate and legal result of the above illegal and wrongful
25    acts, omissions, systematic deficiencies, policies, practices and customs of the City
26    and APD, Officer Martinez and Does 1 to 20, and each of them, intimidated,
27    arrested, jailed and searched Plaintiff illegally.
28


                             COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 10
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 1
           39.    As a direct, proximate and legal result of the above illegal and wrongful
 2    acts, omissions, systematic deficiencies, policies, practices and customs of the City
 3    and APD, Officer Martinez and Does 1 to 20, and each of them caused the Plaintiff
 4    to be subject to unreasonable searches and seizures.
 5         40.    As a direct, proximate and legal result of the above illegal and wrongful
 6    acts, omissions, systematic deficiencies, policies, practices and customs of the City
 7    and APD, Officer Martinez and Does 1 to 20, and each of them caused the Plaintiff
 8    to be falsely arrested and caused the incarceration of Plaintiff.
 9         41. As a direct, proximate and legal result of the above illegal and wrongful
10    acts, omissions, systematic deficiencies, policies, practices and customs of the City
11    and APD, Officer Martinez and Does 1 to 20, and each of them caused the Plaintiff
12    to be subject to unreasonable use of force during the December 11, 2021 arrest.
13         42. Plaintiff is entitled to attorney fees pursuant to 42 U.S.C. § 1988.
14         43. As a direct, proximate and legal result of the above illegal and wrongful
15    acts of defendants, and each of the defendants, Plaintiff suffered and continues to
16    suffer injury, damage, and loss, including, but not limited to the following, in
17    amounts which will be proven at trial:
18               a. Loss of liberty.
19               b. Severe emotional distress.
20               c. Public degradation and obloquy.
21               d. Injury to his reputation.
22               e. Severe emotional and psychological distress.
23               f. Physical injury manifesting and arising from this emotional and
24                  psychological distress.
25          WHEREFORE, Plaintiff prays for judgment and relief as to all claims for
26    relief as follows:
27                         1. Compensatory damages, including general and special
28
                             damages, according to proof;

                             COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 11
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 1
                       2. Exemplary and punitive damages as to the defendants
 2                        who are individuals, [not the public entity defendant]
 3                        according to proof;
 4                     3. Costs and reasonable attorney fees pursuant to 42 U.S.C.
 5                        section 1988, and any other applicable statute or
 6                        authority;
 7                     4. Costs of suit; and
 8                     5. Any further relief the Court deems just and proper.
 9

10                                          Respectfully submitted,
11                                          Jonas & Driscoll LLP
12    Dated: January 6, 2022                /s/ Glen T. Jonas
13
                                            _________________________________
                                            Glen T. Jonas
14                                          Counsel for Plaintiff,
15                                          Joseph F. Iniguez
16
                                            Michael H. Artan, Lawyer, APC
17

18
      Dated: January 6, 2022                /s/ Michael H. Artan
                                            _________________________________
19                                          Michael H. Artan
20                                          Counsel for Plaintiff,
                                            Joseph F. Iniguez
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                          COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 12
     Case 2:22-cv-00106-MCS-GJS Document 1 Filed 01/06/22 Page 13 of 13 Page ID #:13



 1
                                  DEMAND FOR JURY TRIAL
 2
              Plaintiff demands a jury trial as to all issues and claims that may be tried to a
 3
      jury.
 4
                                                Respectfully submitted,
 5
                                                Jonas & Driscoll LLP
 6
      Dated: January 6, 2022                    /s/ Glen T. Jonas
 7
                                                _________________________________
 8                                              Glen T. Jonas
                                                Counsel for Plaintiff,
 9
                                                Joseph F. Iniguez
10

11                                              Michael H. Artan, Lawyer, APC
12
      Dated: January 6, 2022                    /s/ Michael H. Artan
13                                              _________________________________
                                                Michael H. Artan
14
                                                Counsel for Plaintiff,
15                                              Joseph F. Iniguez
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                              COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 13
